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                                                                                  2017 Nov-02 PM 01:24
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

BIRMINGHAM EMERGENCY                          )
COMMUNICATIONS DISTRICT;                      )
                                              )
                    Plaintiff,                )
                                              )   CASE NO.: 2:15-CV-01088-AKK
v.
                                              )
                                              )     DEMAND FOR JURY TRIAL
LEVEL 3 COMMUNICATIONS, LLC                   )
AND LEVEL 3 COMMUNICATIONS,                   )
INC.;                                         )
                    Defendants.               )


                       FIRST AMENDED COMPLAINT
      COMES NOW Plaintiff Birmingham Emergency Communications District

(“the District”) and submits this First Amended Complaint against Defendants

Level 3 Communications, LLC and Level 3 Communications, Inc. (collectively

referred to as “the Defendant”).

                         SUMMARY OF COMPLAINT
      1.     The District is an Emergency Communications District (“ECD”) that

provides critical emergency 911 services to citizens in their respective districts and

others who visit and travel through Birmingham, Alabama. These services, like

the services of other ECDs, are a central component of the public safety and

emergency preparedness system. The District’s 911 services allow emergency

response personnel to be promptly directed to the scenes of emergencies, dangers,
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and disasters; they have, thus, saved countless lives and provided invaluable

benefits to the community.

      2.     The District’s 911 services are principally funded by emergency

telephone service charges (“911 Charges”), which are collected from users of

business and residential telephone services.

      3.     Defendant provides business telephone service through Voice over

Internet Protocol service or “VoIP.” For the period in question, Alabama law

required the Defendant to bill, collect, report, and remit 911 Charges for every ten-

digit access number provided to customers with VoIP or similar telephone service.

Alabama law did not exempt telephone numbers identified or provisioned as “in-

bound only.”

      4.     Defendant did not bill, collect, or remit 911 Charges on its telephone

service in accordance with Alabama law.        To the contrary, Defendant billed,

collected, and remitted 911 Charges for only a fraction of the ten-digit access

numbers provided to VoIP customers. In so doing, it has deprived the District of

the revenue needed to provide critical, lifesaving, emergency services. By billing

and collecting less than the required amount of 911 Charges, Defendant was able

to offer its services at a lower cost to customers and, thereby, gained a competitive

advantage over other telephone service providers who comply with the law.




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       5.    The District seeks recovery of damages related to the unpaid 911

Charges, along with interest, costs, and expenses as allowed by law.

               THE PARTIES, JURISDICTION, AND VENUE
       6.    The Birmingham Emergency Communications District is a political

and legal subdivision of the State of Alabama with the power to sue and be sued

under Federal Rule of Civil Procedure 17(b). It was created by the governing body

of the City of Birmingham, Alabama.

       7.    Level 3 Communications, LLC is a limited liability company

organized under Delaware law with its principal place of business in Colorado. Its

sole member is Level 3 Communications, Inc., which is also organized under

Delaware law and has its principal place of business in Colorado.        Level 3

Communications, LLC and its affiliates, including Level 3 Communications, Inc.,

collectively provide wired telephone service within the District’s geographical

territory.

       8.    Level 3 Communications, Inc. is, as set forth above, organized under

Delaware law and has its principal place of business in Colorado.        Level 3

Communications, Inc. and its affiliates, including Level 3 Communications, LLC,

collectively provide wired telephone service within the District’s geographical

territory.




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      9.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §

1332 because there is complete diversity of citizenship between the District and the

Defendants and the amount in controversy exceeds $75,000, exclusive of interest

and costs.

      10.      Venue is proper in this Court under 28 U.S.C. § 1391 because the

District is located in and has its principal operations within the Northern District of

Alabama and because the Defendant “resides” within the Northern District of

Alabama.

                            FACTUAL ALLEGATIONS
      11.      Alabama has enacted the Emergency Telephone Services Act,

Alabama Code § 11-98-1, et seq. (“the ETSA”), providing for the creation of

ECDs, such as the District, in order to establish local emergency telephone service

commonly referred to as “911 Service.” The ETSA provides for the funding of

these ECDs by assessing a charge on exchange access lines and VoIP telephone

service.

      12.      At all times relevant to this action, the District assessed valid 911

Charges on all business and residential telephone service in the City of

Birmingham.




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      13.    The District, under the supervision of its board, operates extensive

facilities staffed by trained personnel 24 hours a day, 7 days a week, who receive

911 telephone calls and transmit emergency information to the proper authorities.

      14.    The District relies on 911 Charges to provide emergency, often life-

saving, services.

      15.    Defendant provides, and at all relevant times provided, VoIP

telephone service to customers in the City of Birmingham.

      16.    Prior to October 1, 2013, the ETSA required telephone service

suppliers, such as Defendant, to bill, collect, and remit 911 Charges to the District

for every 10-digit access number assigned to VoIP users, excluding those provided

to a person or entity otherwise exempt from taxation. See Ala. Code § 11-98-5.1

(stating: “It shall be the duty of each provider of VoIP or similar service to collect

the [911 charge] for each 10-digit access number assigned to the user and to remit

such fee as provided in Section 11-98-5.”) (pre-October 1, 2013 amendment).

      17.    The Defendant failed to bill, collect, and remit 911 Charges in

accordance with this law. In particular, the Defendant did not bill, collect, and

remit a 911 Charge to the District for thousands of 10-digit access numbers that it

provided to users of VoIP technology. In doing so, the Defendant caused the

District to suffer a substantial financial loss.




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      18.    The Defendant did not bill, collect, and remit 911 Charges on

thousands of telephone numbers that it designated as “in-bound only” numbers.

Alabama law does not, however, exempt telephone numbers designated as “in-

bound only” from 911 Charges.

      19.    In addition, the Defendant provided or sold over 3,000 telephone

numbers to “resellers” who, in turn, sold the telephone numbers to end-user

customers for which no 911 Charges were billed, collected or remitted to the

District. Upon information and belief, the Defendant knew or should have known

that these “reseller” customers were not billing, collecting, and remitting 911

Charges.

      20.    The Defendant submitted remittance forms to the District stating there

were no exempt units or telephone numbers. In reality, however, the Defendant

was, at one point, secretly “exempting” 63,039 telephone numbers that were active

in Birmingham from 911 Charges. It did not disclose these “exempt units” on its

remittance forms that it sent to the District.

      21.    By not billing and collecting 911 Charges for each 10-digit telephone

number provided to VoIP users and by concealing its “exempt units” from the

District, the Defendant was able to offer lower cost service to the detriment of the

District and, as a result, gained a competitive advantage over other telephone




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service providers that followed the law. The Defendant’s actions deprived the

District of critical financial resources.

      22.    The District’s claims in this case relate to the Defendant’s obligations

to bill, collect, and remit 911 Charges before October 1, 2013.


                                      COUNT I
                               (Violation of the ETSA)
      23.    The District repeats and reavers the foregoing allegations as if fully

set forth herein.

      24.    As set forth herein, the Defendant has failed to bill, collect, and remit

911 Charges in accordance with the ETSA.

      25.    As a proximate consequence of the Defendant’s violation of the

ETSA, the District has suffered damages.

      WHEREFORE, the District demands judgment against the Defendant for

compensatory and punitive damages in an amount to be determined by a struck

jury plus interest, attorneys’ fees and costs.

                                  COUNT II
         (Negligence/Negligence Per Se/Gross Negligence/Recklessness)
      26.     The District repeats and reavers the foregoing allegations as if fully

set forth herein.

      27.    The Defendant was under statutory and common law duties to bill,

collect, and remit to the District the proper amount of 911 Charges.

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      28.     The Defendant was negligent, grossly negligent, or reckless in failing

to exercise reasonable care and breached these duties.

      29.     The Defendant’s negligent, grossly negligent, or reckless breaches of

their duties to exercise reasonable care proximately caused injury to the District,

including loss of critical financial resources.

      30.     The Defendant’s breach of the statutory duties imposed by Alabama

law also constitutes negligence per se.

      31.     The District is within the class of persons that the ETSA was

designed to protect and benefit as it is an intended recipient of the 911 Charges and

relied upon payment of those charges to fund essential emergency service

operations.

      32.     The injuries of the District are the precise injuries that the ETSA was

designed to prevent, and those injuries hinder and impair the ability to provide 911

services in furtherance of the laws’ stated purposes.

      WHEREFORE, the District demands judgment against the Defendant for

compensatory and punitive damages in an amount to be determined by a struck

jury plus interest, attorneys’ fees and costs.

                                    COUNT III
                             (Breach of Fiduciary Duty)
      33.     The District repeats and reavers the foregoing allegations as if fully

set forth herein.

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      34.    During all relevant times, the Defendant was under a fiduciary duty

to bill, collect, and remit to the District the 911 Charges upon each 10-digit

telephone number supplied to users of VoIP technology and to bill, collect, and

remit 911 Charges for all non-exempt customers. These fiduciary duties were

imposed upon the Defendant by Alabama Code § 11-98-1, et seq., and § 11-98-5.1

in particular, the laws of other states, as well as by uniform common law in

Alabama and other states.

      35.    The fiduciary duty is derived from the special and confidential

relationship between the District and the Defendant.

      36.    The fiduciary relationship gives rise to a duty of care on the part of

the Defendant whereby the Defendant was required to act with the utmost good

faith, loyalty and honesty toward the District. The ETSA creates a system to fund

911 emergency services that require ECDs, such as the District, to rely upon

telecommunication suppliers, such as the Defendant, to act in good faith and with

honesty in billing, collecting, and remitting the appropriate 911 Charges.

      37.    The District had to rely on the Defendant to act in good faith and with

honesty because the District is not aware of and had no way of calculating the

number of ten-digit access numbers provided to customers of VoIP or similar

service. Therefore, the District could not know the actual amount of 911 Charges




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that should be paid.      The Defendant has sole and exclusive control of that

information.

      38.      As the sole party possessing the information needed to determine the

correct amount of 911 Charges that should have been paid, the Defendant was in a

dominant position in relation to the District. As the Defendant determined the

amount of 911 Charges received by the District, and as those 911 Charges were the

principal source of operating capital funds, the Defendant effectively exercised a

level of control over the District.

      39.      In relying on the Defendant to perform its statutory and common law

obligations, the District trusted that the Defendant would act with utmost good

faith, loyalty, and honesty toward the District.

      40.      The Defendant knowingly breached its fiduciary duties and the

standard of care.

      41.      The Defendant’s breach of their fiduciary duties of the standard of

care injured the District, proximately causing a loss of significant revenue needed

to fund essential emergency services.

      WHEREFORE, the District demands judgment against the Defendant for

compensatory and punitive damages in an amount to be determined by a struck

jury plus interest, attorneys’ fees and costs.




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                                     COUNT IV
                                    (Wantonness)
      42.     The District repeats and reavers the foregoing allegations as if fully

set forth herein.

      43.    The Defendant’s conduct as described herein constitutes wantonness.

By purposefully not billing and remitting the 911 Charges required by law, the

Defendant acted with a reckless disregard for the wellbeing of the District with

knowledge that the underpayment of 911 Charges would likely cause injury or

damage.

      44.    The Defendant’s wanton behavior proximately caused injury and

damages to the District, including the loss of operating and capital funds and an

impairment of the ability to provide 911 services.

      WHEREFORE, the District demands judgment against the Defendant for

compensatory and punitive damages in an amount to be determined by a struck

jury plus interest, attorneys’ fees and costs.

                                    COUNT V
                             (Misrepresentation/Fraud)

      45.    The District repeats and reavers the foregoing allegations as if fully

set forth herein.




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        46.     In connection with its duty to bill, collect and remit 911 Charges, the

Defendant prepared and submitted to the District a signed 911 Charge remittance

form each month along with its 911 Charge remittance payment.

        47.     Through the 911 Charge Remittance Form, the Defendant represented

the number of gross number of units (active telephone numbers) in the District and

the exempt units for that particular month.

        48.     The Defendant further represented on each 911 Charge Remittance

Form that “all information provided herein is true, complete and accurate.”

        49.     Despite this certification, the Defendant negligently, recklessly or

intentionally misrepresented to the District the number of “gross units” and the

number of “exempt units.” The Defendant significantly under-reported the number

of telephone numbers and, therefore, made its 911 Charge remittances appear to be

in compliance with the law when, in fact, they were not.

        50.     Specifically, the Defendant misrepresented the “gross units” and the

number of “exempt units” on its 911 Charge Remittance Forms as follows1:

         Shelby/         Date of             Reporting           Represented          Represented
        Jefferson      Transmittal            Period              # of Gross          # of Exempt
                          Form                                      Units                Units
         Shelby        11/10/2011             10/2011                 168                   0
        Jefferson      11/10/2011             10/2011                1880                   0
         Shelby        12/09/2011             11/2011                 187                   0

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 The Defendant submitted two 911 Charge Remittance Forms to the District with the same date each
month—one for the portion of the District in Jefferson County and one for the portion of the District in
Shelby County.
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Jefferson   12/09/2011     11/2011           1924             0
 Shelby     01/16/2012     12/2011            187             0
Jefferson   01/16/2012     12/2011           1896             0
 Shelby     02/11/2012     01/2012            239             0
Jefferson   02/11/2012     01/2012           1755             0
 Shelby     03/09/2012     02/2012            189             0
Jefferson   03/09/2012     02/2012           1199             0
 Shelby     04/13/2012     03/2012            240             0
Jefferson   04/13/2012     03/2012           2344             0
 Shelby     05/16/2012     04/2012            229             0
Jefferson   05/16/2012     04/2012           2697             0
 Shelby     06/12/2012     05/2012            369             0
Jefferson   06/12/2012     05/2012           2712             0
 Shelby     07/11/2012     06/2012            288             0
Jefferson   07/11/2012     06/2012           2723             0
 Shelby     08/10/2012     07/2012            313             0
Jefferson   08/10/2012     07/2012           2235             0
 Shelby     09/11/2012     08/2012            283             0
Jefferson   09/11/2012     08/2012           3028             0
 Shelby     10/16/2012     09/2012            322             0
Jefferson   10/16/2012     09/2012           2801             0
 Shelby     11/09/2012     10/2012            434             0
Jefferson   11/09/2012     10/2012           3079             0
 Shelby     12/11/2012     11/2012            377             0
Jefferson   12/11/2012     11/2012           3409             0
 Shelby     01/11/2013     12/2012            386             0
Jefferson   01/11/2013     12/2012           3352             0
 Shelby     02/13/2013     01/2013            381             0
Jefferson   02/13/2013     01/2013           3636             0
 Shelby     03/15/2013     02/2013            384             0
Jefferson   03/15/2013     02/2013           3574             0
 Shelby     04/12/2013     03/2013            387             0
Jefferson   04/12/2013     03/2013           3887             0
 Shelby     05/12/2013     04/2013            584             0
Jefferson   05/12/2013     04/2013           3542             0
 Shelby     06/11/2013     05/2013            528             0

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      Jefferson   06/11/2013         05/2013             3868               0
       Shelby     07/11/2013         06/2013              594               0
      Jefferson   07/11/2013         06/2013             5951               0
       Shelby     08/13/2013         07/2013              554               0
      Jefferson   08/13/2013         07/2013             5632               0
       Shelby     10/15/2013         09/2013              860               0
      Jefferson   10/15/2013         09/2013             5696               0


      51.    Contrary to these representations, the District has learned that the

Defendant had tens of thousands of unreported active telephone numbers within

the District. The Defendant should have included these additional active telephone

numbers within the “gross units” on its 911 Charge Remittance Forms. The

amount of active telephone numbers or “units” for which the Defendant was not

billing, collecting, and remitting a 911 Charge should have been disclosed as

“exempt units.” Instead, the Defendant did neither—it failed to include all the

active telephone numbers in the “gross units,” and it stated every single month that

there were zero (0) “exempt units.” Therefore, the Defendant grossly understated

the number of gross units and grossly understated the number of exempt units.

      52.     Although all of the representations about gross and exempt units

were false, the District has learned the extent of the under-reporting for the months

of July and September, 2013. As shown in the table above and combining the

amounts for Shelby and Jefferson, the Defendant reported there was a total of

6,186 “gross units” in July and 6,556 “gross units” in September, with zero (0)


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“exempt units for both of those months. In truth, however, the Defendant had over

72,000 “gross units.” Because the Defendant’s service was VoIP, it should have

been billing and remitting 911 Charges on virtually all of those active numbers.

Instead, the Defendant concealed the existence of approximately 66,000 active

telephone numbers by not identifying them as “exempt units.”

       53.     The District reasonably relied on the false information provided by the

Defendant on the 911 Charge Remittance Forms in accepting the 911 Charge

remittances.

       54.     The information supplied by the Defendant was material to the

District because the District relies upon 911 Charges to fund its operations, pay its

employees, and provide emergency services. Moreover, the District has little to no

information about the Defendant’s service offerings within the district, other than

what the Defendant provides to the District. As a result, the District had no means

to independently verify or ensure the accuracy of the information supplied by the

Defendant. The District was, therefore, at the mercy of the Defendant to act in

good faith and with honesty and truthfulness in reporting information to the

District.

       55.     Because of the lack of information available to the District about the

Defendant’s services in these areas, the District did not discover and could not

have discovered the Defendant’s misrepresentations until the Defendant provided


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more complete and accurate information about their services during a recent audit

conducted by the District.

      56.    The Defendant’s false representations proximately caused injury and

damages to the District, including the loss of operating and capital funds and an

impairment of the ability to provide 911 services.

      WHEREFORE, the District demands judgment against the Defendant for

compensatory and punitive damages in an amount to be determined by a struck

jury plus interest, attorneys’ fees and costs.

            PLAINTIFF DEMANDS A TRIAL BY STRUCK JURY


      This the 2nd day of November, 2017.


                                            s/ W. Percy Badham III
                                           W. Percy Badham III (ASB-2147-D51W)
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                         CERTIFICATE OF SERVICE
       I hereby certify that a copy of the foregoing was served on the following
via electronic mail on the 2nd day of November, 2017:

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                                          s/ W. Percy Badham III
                                         OF COUNSEL




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